                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN


 THOMAS DELEON,

        Plaintiff,
 v.                                                                   Hon. Hala Y. Jarbou

 CITY OF GRANDVILLE, MICHIGAN                                         Case No. 1:22-cv-429
 and RICHARD BROWN

       Defendants.
 ______________________________/


                            REPORT AND RECOMMENDATION

       Plaintiff Thomas DeLeon filed this action on May 12, 2022, against the City of Grandville

and one of its police officers, Richard Brown, alleging various claims arising out of Brown’s

actions during an arrest of Plaintiff. Plaintiff alleges a claim against Brown under 42 U.S.C. § 1983

for violation of Plaintiff’s Fourteenth Amendment rights during the arrest and a Monell claim

against the City. Plaintiff also invokes the Court’s supplemental jurisdiction over several state-law

claims. (ECF No. 1 at PageID.4–11.) Having granted Plaintiff’s motion to proceed as a pauper, I

have conducted an initial review of the complaint pursuant to 28 U.S.C. § 1915(e)(2) to determine

whether it is frivolous, malicious, or fails to state a claim upon which relief can be granted. Based

on this review, I conclude that Plaintiff’s Section 1983 claims must be dismissed because they fail

to state a claim upon which relief may be granted. I further recommend that the Court decline to

exercise supplemental jurisdiction over Plaintiff’s state-law claims and dismiss them without

prejudice.

                                          I. Background

       On July 23, 2018, Defendant Brown detained and arrested Plaintiff for possession of

marijuana and on an outstanding warrant. During the arrest, Brown conducted a “Terry” patdown
of Plaintiff. Plaintiff alleges that, as Brown moved has hand down Plaintiff’s body, he stopped at

Plaintiff’s groin area and firmly grabbed Plaintiff’s penis, stating, “‘Oh yeah we are getting real

nice and personal now . . .’” Brown continued to grasp Plaintiff’s penis while squeezing with

increasing intensity. (Id. at PageID.3.)

        Plaintiff contends that Brown’s actions violated his Fourteenth Amendment right to be free

from sexual harassment, abuse, and assault and that the City is liable for Brown’s conduct based

on its unconstitutional customs, practices, and/or policies. He further contends that Brown’s

actions violated Michigan’s Elliott-Larsen Civil Rights Act and amounted to a battery and

intentional infliction of emotional distress.

                                     II. Failure to State a Claim

        Pursuant to Federal Rule of Civil Procedure 12(b)(6), a claim must be dismissed for failure

to state a claim on which relief may be granted unless the “[f]actual allegations [are] enough to

raise a right to relief above the speculative level on the assumption that all of the complaint’s

allegations are true.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 545 (2007) (internal citations

and footnote omitted).

        As the Supreme Court has held, to satisfy this rule, a complaint must contain “sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). This plausibility standard “is

not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant

has acted unlawfully.” Id. If the complaint simply “pleads facts that are merely consistent with a

defendant’s liability, it stops short of the line between possibility and plausibility of entitlement to

relief.” Id. (internal quotation marks omitted). As the Court further observed:

        Two working principles underlie our decision in Twombly. First, the tenet that a
        court must accept as true all of the allegations contained in a complaint is

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       inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of
       action, supported by mere conclusory statements, do not suffice. Rule 8 marks a
       notable and generous departure from the hypertechnical, code-pleading regime of
       a prior era, but it does not unlock the doors of discovery for a plaintiff armed with
       nothing more than conclusions. Second, only a complaint that states a plausible
       claim for relief survives a motion to dismiss. Determining whether a complaint
       states a plausible claim for relief will, as the Court of Appeals observed, be a
       context-specific task that requires the reviewing court to draw on its judicial
       experience and common sense. But where the well-pleaded facts do not permit the
       court to infer more than the mere possibility of misconduct, the complaint has
       alleged— but it has not “show[n]”—“that the pleader is entitled to relief.”

Id. at 678–79 (internal citations omitted).

                                           III. Discussion

        A.      Federal Claims

       Plaintiff’s Section 1983 claims against Brown and the City are barred by the statute of

limitations. Although the statute of limitations is an affirmative defense, if the allegations in a

complaint show that relief is barred by the applicable statute of limitations, the complaint is subject

to dismissal for failure to state a claim upon which relief may be granted. Jones v. Bock, 549 U.S.

199, 215 (2007); Cataldo v. U.S. Steel Corp., 676 F.3d 542, 547 (6th Cir. 2012); see also Mattox

v. Edelman, 851 F.3d 583, 590 (6th Cir. 2017) (citing Jones and holding that if, on the face of a

complaint, the allegations show that relief is barred by an affirmative defense (lack of exhaustion),

the complaint is subject to dismissal for failure to state a claim).

       State statutes of limitations and tolling principles apply to determine the timeliness of

claims raised in lawsuits brought pursuant to Section 1983. Wilson v. Garcia, 471 U.S. 261, 268-

69 (1985). Section 1983 civil rights actions are governed by the state statute of limitations for

personal injury actions. Wallace v. Kato, 549 U.S. 384, 387 (2007). For such actions in Michigan,

the statute of limitations is three years. Mich. Comp. Laws § 600.5805(2); Carroll v. Wilkerson,

782 F.2d 44, 44 (6th Cir. 1986) (per curiam). Accrual of the claims for relief is a question of federal

law. Collyer v. Darling, 98 F.3d 211, 220 (6th Cir. 1996); Sevier v. Turner, 742 F.2d 262, 272 (6th

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Cir. 1984). The statute of limitations begins to run when the aggrieved party knows or has reason

to know of the injury that is the basis for the action. Collyer, 98 F.3d at 220.

       As set forth in his complaint, Plaintiff’s claims are based upon the July 23, 2018 arrest, but

Plaintiff did not file his complaint until May 12, 2022, well after the three-year limitations period

expired. Plaintiff knew or had reason to know of the event and associated injuries giving rise to

his claims at the time of the arrest. I note that judges in this district and the Eastern District of

Michigan have recognized and applied the Michigan Supreme Court’s COVID-19-related orders

tolling Michigan statutes of limitations for a period of approximately 101 days. See Bownes v.

Borroughs Corp., No. 1:20-CV-964, 2021 WL 1921066, at *2 (W.D. Mich. May 13, 2021)

(extending limitations for claim under Elliott-Larsen Civil Rights Act for 100 days); see also

Bowles v. Sabree, No. 20-12838, 2022 WL 141666, at *9 (E.D. Mich. Jan. 14, 2022) (applying

COVID-19-related tolling orders to Section 1983 claim). But even giving Plaintiff the benefit of

this 100-day period, his complaint was still untimely by several months.

        In addition, Michigan law no longer tolls the running of the statute of limitations while a

plaintiff is incarcerated. Mich. Comp. Laws § 600.5851(9). Thus, any period of time Plaintiff

might have spent in jail or prison due to the arrest does not toll the limitations period. In addition,

it is well-established that ignorance of the law does not warrant equitable tolling of a statute of

limitations. Rose v. Dole, 945 F.2d 1331, 1335 (6th Cir. 1991); Jones v. General Motors Corp.,

939 F.2d 380, 385 (6th Cir. 1991); see also Mason v. Department of Justice, No. 01-5701, 2002

WL 1334756, *2 (6th Cir. June 17, 2002). I note that Plaintiff alleges that the City and/or the 59th

District Court interfered with his attempt to file a lawsuit, but he fails to present a legally-valid

basis for tolling the limitations period. (ECF No. 1 at PageID.3–4.) The fact that the City’s police

department did not respond to a FOIA request, or that Plaintiff was unable to obtain the police



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report and/or Defendant Brown’s body camera footage could not have precluded Plaintiff from

filing an action in this Court. Plaintiff had all the information he needed to prepare and timely file

a complaint. Therefore, Plaintiff’s action is time-barred.1

         B.     State-Law Claims

        If the Court agrees with the foregoing recommendation, I further recommend that it

exercise its discretion to decline supplemental jurisdiction and dismiss the state-law claims without

prejudice pursuant to 28 U.S.C. § 1367(c)(3). Generally, the Court should decline to hear state-

law claims when all federal claims are dismissed before trial. See Musson Theatrical, Inc. v.

Federal Express Corp., 89 F.3d 1244, 1254–55 (6th Cir. 1996) (“When all federal claims are

dismissed before trial, the balance of considerations usually will point to dismissing the state law

claims, or remanding them to state court if the action was removed.”) (citing Carnegie–Mellon v.

Cohill, 484 U.S. 343, 350 n.7 (1988)). Here, the litigation was just commenced, and Plaintiff may

properly pursue his remaining claims in state court. See Kelly v. City of New Philadelphia,

No.5:20-cv-211, 2020 WL 2126665, at *3 (N.D. Ohio May 5, 2020) (declining to exercise

supplemental jurisdiction where all of the federal claims were dismissed “at this early stage of

litigation”).




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  Plaintiff’s claim against the City pursuant to Monell v. New York Department of Social Services,
436 U.S. 658 (1978), is also subject to dismissal on the independent ground that it is based on
nothing more than labels and conclusions. See Bailey v. City of Ann Arbor, 860 F.3d 382, 388–89
(6th Cir. 2017) (confirming that the Supreme Court's decisions in Twombly and Iqbal apply to
Monell claims); Rayfield v. City of Grand Rapids, 373 F. Supp. 3d 962, 977 (W.D. Mich. 2018)
(“Conclusory assertions [of a policy or custom] are not enough to state a Twombly plausible Monell
claim.”). In any event, the claim is clearly time-barred.
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                                         IV. Conclusion

       For the foregoing reasons, I recommend that the Court dismiss Plaintiff’s Section 1983

claims for failure to state a claim and decline to exercise supplemental jurisdiction over the state-

law claims.

       The Court must also decide whether an appeal of this action would be in good faith within

the meaning of 28 U.S.C. § 1915(a)(3). See McGore v. Wrigglesworth, 114 F.3d 601, 611 (6th Cir.

1997). Good faith is judged objectively, Coppedge v. United States, 369 U.S. 438, 445 (1962), and

an appeal is not taken in good faith if the issue presented is frivolous, defined as lacking an

arguable basis either in fact or law. See Dellis v. Corr. Corp. of Am., 257 F.3d 508, 511 (6th Cir.

2001). For the same reasons that I recommend dismissal of the action, I discern no good faith basis

for an appeal and recommend that, should Plaintiff appeal this decision, the Court assess the

$505.00 appellate filing fee pursuant to § 1915(b)(1), see McGore, 114 F.3d at 610-11.



Date: May 19, 2022                                            /s/ Sally J. Berens
                                                              SALLY J. BERENS
                                                              U.S. Magistrate Judge

                                             NOTICE

        OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court
within 14 days of the date of service of this notice. 28 U.S.C. § 636(b)(1)(C). Failure to file
objections within the specified time waives the right to appeal the District Court’s order. See
Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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